       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 1 of 30                    FILED
                                                                                2019 Apr-11 PM 04:30
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION


R.R., a Minor, By and through         )
her Mother and Next of Friend         )
Christie Rogers,                      )
                                      )
            Plaintiff,                )
                                      )
v.                                    )            Case No. 2:17-cv-00751-TMP
                                      )
DAVID EATON,                          )
                                      )
            Defendants.               )


                          MEMORDANDUM OPINION

      This cause is before the court on the motion for summary judgment filed

September 27, 2018, by the sole defendant, David Eaton (“Defendant” or “Eaton”).

(Doc. 44). Defendant seeks dismissal of all R.R.’s (“Plaintiff”) claims arising from

the search of her grandmother’s home, where she was then living, on May 9, 2015,

when Eaton and Deputy Dill (“Dill”) entered the home to serve an arrest warrant

on R.R.’s sister, Breana Clayton. (Doc.44). The motion has been fully briefed.

The parties consented to dispositive jurisdiction by a magistrate judge on

September 28, 2016. (Doc. 14). Accordingly, the court enters the following

Memorandum Opinion.
       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 2 of 30



                    SUMMARY JUDGMENT STANDARD

   Under Federal Rule of Civil Procedure 56(a), summary judgment is proper “if

the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The

party asking for summary judgment “always bears the initial responsibility of

informing the district court of the basis for its motion, and identifying those

portions of ‘the pleadings, depositions, answers to interrogatories, and admissions

on file, together with the affidavits, if any’ which it believes demonstrate the

absence of a genuine issue of material fact.” Celotex Corp. v. Catrett, 47 U.S. 317,

323 (1986) (quoting former Fed. R. Civ. P. 56(c)). The movant can meet this

burden by presenting evidence showing there is no dispute of material fact or by

showing that the nonmoving party has failed to present evidence in support of

some element of its case on which it bears the ultimate burden of proof. Celotex,

477 U.S. at 322-23. There is no requirement, however, “that the moving party

support its motion with affidavits or other similar materials negating the

opponent’s claim.” Id. at 323.

   Once the moving party has met its burden, Rule 56 “requires the nonmoving

party to go beyond the pleadings and by her own affidavits, or by the ‘depositions,

answers to interrogatories, and admissions on file,’ designate ‘specific facts

showing that there is a genuine issue for trial.’” Id. at 324 (quoting former Fed. R.


                                         2
        Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 3 of 30



Civ. P. 56(e)).     The nonmoving party need not present evidence in a form

necessary for admission at trial; however, he may not merely rest on his pleadings.

Celotex, 477 U.S. at 324. “[T]he plain language of Rule 56(c) mandates the entry

of summary judgment, after adequate time for discovery and upon motion, against

a party who fails to make a showing sufficient to establish the existence of an

element essential to that party’s case, and on which that party will bear the burden

of proof at trial.” Id. at 322.

   After the plaintiff has properly responded to a proper motion for summary

judgment, the court “shall” grant the motion if there is no genuine issue of material

fact, and the moving party is entitled to judgment as a matter of law. Fed. R. Civ.

P. 56(a). The substantive law will identify which facts are material and which are

irrelevant. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). A dispute

is genuine “if the evidence is such that a reasonable jury could return a verdict for

the nonmoving party.” Id. at 248. “[T]he judge’s function is not himself to weigh

the evidence and determine the truth of the matter but to determine whether there is

a genuine issue for trial.” Id. at 246. His guide is the same standard necessary to

direct a verdict:    “whether the evidence presents a sufficient disagreement to

require submission to a jury or whether it is so one-sided that one party must

prevail as a matter of law.” Id. at 251-52; see also Bill Johnson’s Restaurants, Inc.

v. N.L.R.B., 461 U.S. 731, 745 n. 11 (1983).


                                         3
       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 4 of 30



   However, the nonmoving party “must do more than simply show that there is

some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co.,

Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). The evidence supporting a

claim must be “substantial,” Marcus v. St. Paul Fire and Marine Ins. Co., 651 F.2d

379 (5th Cir., Unit B, 1981); a mere scintilla of evidence is not enough to create a

genuine issue of fact. Young v. City of Palm Bay, 358 F.3d 859, 860 (11th Cir.

2004); Kesinger ex rel. Estate of Kesinger v. Herrington, 381 F.3d 1243, 1249-50

(11th Cir. 2004). If the non-movant’s evidence is so thoroughly discredited by the

rest of the record evidence that no reasonable jury could accept it, the evidence

fails to establish the existence of a genuine issue of fact requiring a jury

determination. See Scott v. Harris, 550 U.S. 372, 127 S. Ct. 1769, 1776, 167 L.

Ed. 2d 686 (2007) (“Respondent’s version of events is so utterly discredited by the

record that no reasonable jury could have believed him. The Court of Appeals

should not have relied on such visible fiction; it should have reviewed the facts in

the light depicted by the videotape.”); Lewis v. City of West Palm Beach, Fla., 561

F.3d 1288, 1290 n. 3 (11th Cir. 2009). If the evidence is merely colorable, or is not

significantly probative, summary judgment may be granted. Anderson, 477 U.S. at

249 (citations omitted); accord Spence v. Zimmerman, 873 F.2d 256 (11th Cir.

1989). Furthermore, the court must “view the evidence presented through the

prism of the substantive evidentiary burden,” so there must be sufficient evidence


                                         4
       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 5 of 30



on which the jury could reasonably find for the plaintiff. Anderson, 477 U.S. at

255. The non-movant need not be given the benefit of every inference but only of

every reasonable inference. Brown v. City of Clewiston, 848 F.2d 1534, 1540 n.

12 (11th Cir. 1988).

                       SUMMARY JUDGMENT FACTS

      For the purposes of summary judgment the court construes all facts in favor

of the nonmovant, in this case the plaintiff. The following facts, so construed, are

relevant for the purposes of summary judgment.

      Eaton is a deputy sheriff with the Jefferson County Sheriff’s Office

(“JCSO”) in Alabama. On May 9, 2015, Eaton was assigned to the “Birmingham

Division,” which is one of two divisions within the JCSO that is tasked with

serving arrest warrants. On that date, the JCSO was conducting a “Saturday

roundup,” an operation in which the department seeks to serve arrest warrants

based on a determination that people are more likely to be home on Saturday

mornings than throughout the workweek. Eaton was assigned to a felony warrant

for Breana Clayton.    The address on the warrant was 2116 6th Place West,

Birmingham, Alabama. That address is the home of Bettie Clayton, R.R.’s and

Breana Clayton’s grandmother. R.R. was living with Bettie Clayton on May 9,

2015, but Breana was not.




                                         5
        Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 6 of 30



       The arrest warrant for Breana Clayton had been issued on April 30, 2015, in

response to a report taken by the Hueytown Police Department on April 29, 2015,

alleging that Breana Clayton had stolen multiple items from a Walmart store. The

warrant listed Breana Clayton’s address as 2116 6th Place West, though she was

not residing with Bettie Clayton at the time. Breana Clayton had not provided that

address to the Hueytown police and it is not clear how the address was obtained. 1

       Eaton was first assigned the warrant a few days prior to the Saturday

roundup. On May 6, 2015, he searched for Breana’s address in the AlaCop

database, an online portal that gives law enforcement access to the information

contained in all Alabama driver’s licenses. Eaton confirmed that the address listed

on Breana Clayton’s driver’s license, issued in May 2011, was the same 2116 6th

Place West listed on the warrant. Eaton did not take any further measures to

ascertain whether Breana Clayton actually lived in the home. He agrees that he did

not conduct surveillance at the address or talk to neighbors to attempt to confirm

that Breana resided there. Eaton admits that he often encounters people who do

not live at the address on their driver’s licenses and that he often arrests people at

addresses other than that stated on the arrest warrant.




1
  Neither party has presented any evidence to the court that explains or attempts to explain where
the Hueytown Police Department obtained the address that appeared on the warrant, but there is
no dispute that Breana did not give that address to the police.
                                                6
        Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 7 of 30



       On May 9, 2015, Eaton and another deputy, Dill, went to the residence at

2116 6th Place West to attempt to serve the arrest warrant on Breana. Dill, who

normally worked in the county jail, was partnered with Eaton because, during

Saturday roundups, the JCSO will use deputies who are normally assigned to the

jails to partner with warrant division deputies for safety purposes. Dill had no

specialized training or experience in serving arrest warrants. The deputies arrived

at the Clayton residence between 9:00 and 9:30 a.m. 2 Outside of the home, there

was one vehicle. Eaton did not check the vehicle registration or attempt to

ascertain whether the vehicle belonged to Breana Clayton.

       At the Clayton residence the front door consisted of an outer security door

made of a plexiglass and steel frame, inside of which was a standard wooden door.

When Eaton knocked on the front door, Bettie Clayton came to the door and

opened the inner wooden door, but left the outer security door closed and locked.

Dill had gone to the back of the home to ensure that no one ran out of the house

through other doors. Eaton spoke with Bettie Clayton and informed her that he

was there to serve an arrest warrant on Breana Clayton. Bettie Clayton informed

Eaton that Breana was not in the house, that she did not live there, and that she had




2
 The exact time is not known; however, Bettie Clayton called 911 at 9:39 a.m. at which point
Eaton was already inside the home.
                                             7
        Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 8 of 30



not lived there for several months. Eaton neither asked Bettie Clayton about a

familial relationship with Breana Clayton nor determined that one existed.3

       While this was occurring, plaintiff R.R., a thirteen-year old middle school

student, was in her bedroom at the back of the house. Upon seeing a shadow

outside of her bedroom window, R.R. briefly opened the blinds to see who was

walking around the house. When she did, Dill saw the “movement” in the window

and reported it to Eaton. There is no indication that Dill was able to see anything

but “movement” in the window. He was not able even to say that a person caused

the movement, or to see anyone that looked like Breana. Dill reported to Eaton

only that he had seen “movement” in the window. Eaton instructed Bettie Clayton

to open the security door, but she refused because, as she told him again, Breana

Clayton did not live in the home and was not there. Eaton then used a crowbar and

a sledgehammer to break open the security door and force entry into the home. At

the time, he possessed only the arrest warrant for Breana; there was no search

warrant for the home.

       Eaton went room to room inside of the home searching for Breana Clayton.

Inside the home he encountered R.R., who was still in her pajamas in bed. She

was the only other person in the house. He asked her for identification because he

3
  Defendant alleges that he did establish that there was a familial relationship between Bettie
Clayton and Breana Clayton and that this contributed to his belief that Breana Clayton was inside
the house. Bettie Clayton’s testimony, however, is that Eaton did not ask and she did not tell
him about any family relationship to Breana.
                                               8
        Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 9 of 30



believed she looked like the driver’s license photograph he had of Breana Clayton,

who was 21 years old at that time.             Because of her young age, she had no

identification other than her middle school ID card, which she retrieved from a

dresser. After he was satisfied that Breana Clayton was not in the home, he left a

business card with Bettie Clayton and left the house.

                                           DISCUSSION

       There are only two federal causes of action remaining in the lawsuit. Those

claims are denial of due process 4 and unlawful search in violation of the Fourth

Amendment asserted pursuant to 42 U.S.C. § 1983. (Doc. 36). Eaton asserts that

these remaining claims are appropriate for summary disposition because he is

entitled to qualified immunity. (Doc. 44-1, p.10). The plaintiff asserts that Eaton

does not have qualified immunity because no reasonable police officer would

conclude, under these circumstances, that he had authority to enter the house over

the objection of Bettie Clayton, and therefore, the motion should be denied.

(Doc. 53, p. 9).




4
  While Plaintiff has asserted a generic due process claim, the claim is subsumed within the
Fourth Amendment claim and will be analyzed under the Fourth Amendment standard. Where,
as here, a constitutional claim arises under a Constitutional provision that affords protection
specific to the wrong alleged, the court should analyze the claim under that Constitutional
provision, rather than under due process. United States v. Lanier, 520 U.S. 259, 272 n. 7, 117 S.
Ct. 1219, 137 L. Ed. 2d 432 (1997) (reasserting the holding of Graham v. Connor, 490 U.S. 386,
394, 109 S. Ct. 1865, 104 L. Ed. 2d 443 (1989)). Thus, the due process claim is not a separate
basis for liability.
                                               9
       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 10 of 30



      Under federal law, it is well settled that qualified immunity protects

government officials performing discretionary functions from civil suit, and from

liability, where their conduct does not violate “clearly established statutory or

constitutional rights.” Hope v. Pelzer, 536 U.S. 730, 739, 122 S. Ct. 2508, 153 L.

Ed. 2d 666 (2002) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818, 102 S. Ct.

2727, 2738, 73 L. Ed. 2d 396 (1982)). Furthermore, it is the general rule that

qualified immunity will protect government actors from liability, and only in

“exceptional cases” will the immunity be unavailable as a shield. Harris v. Board

of Education of Atlanta, 105 F.3d 591, 595 (11th Cir. 1997). Even so, qualified

immunity does not apply in those instances where the case law establishes a

“bright line” in such a “concrete and factually defined context” to make it obvious

to all reasonable government actors, in the defendant’s place, that the actions

violate federal law. Scarbrough v. Myles, 245 F.3d 1299, 1301 (11th Cir. 2001).

For qualified immunity to be lost, the government actor must have fair warning

that his conduct violates the constitutional rights of another.

      A summary of qualified immunity in the context federal constitutional

claims states:


      Qualified immunity offers complete protection for government
      officials sued in their individual capacities if their conduct ‘does not
      violate clearly established statutory or constitutional rights of which a
      reasonable person would have known.’” Vinyard v. Wilson, 311 F.3d
      1340, 1346 (11th Cir. 2002) (quoting Harlow v. Fitzgerald, 457 U.S.
                                          10
       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 11 of 30



      800, 818, 102 S. Ct. 2727, 2738, 73 L. Ed. 2d 396 (1982)). …
      Qualified immunity from suit is intended to “allow government
      officials to carry out their discretionary duties without the fear of
      personal liability or harassing litigation, protecting from suit all but
      the plainly incompetent or one who is knowingly violating the federal
      law.” Lee v. Ferraro, 284 F.3d 1188, 1194 (11th Cir. 2002) (internal
      quotation marks and citations omitted).

      Courts utilize a two-part framework to evaluate qualified immunity
      claims. One inquiry in a qualified immunity analysis is whether the
      plaintiff’s allegations, if true, establish a constitutional violation.
      Hope v. Pelzer, 536 U.S. 730, 736, 122 S. Ct. 2508, 2513, 153 L. Ed.
      2d 666 (2002) (citing Saucier v. Katz, 533 U.S. 194, 201, 121 S. Ct.
      2151, 2156, 150 L. Ed. 2d 272 (2001)). If the facts, construed as they
      must be in this summary judgment appeal in the light most favorable
      to the plaintiff, show that a constitutional right has been violated,
      another inquiry is whether the right violated was “clearly established.”
      Saucier, 533 U.S. at 201, 121 S. Ct. at 2156. Both elements of this
      test must be present for an official to lose qualified immunity, and this
      two-pronged analysis may be done in whatever order is deemed most
      appropriate for the case. Pearson v. Callahan, 555 U.S. 223, 129 S.Ct.
      808, 821, 172 L.Ed.2d 565 (2009).



Brown v. City of Huntsville, Ala., 608 F.3d 724, 733–34 (11th Cir. 2010).

      The defendant claiming qualified immunity must carry an initial burden of

proving that he was engaged in the exercise of discretionary authority. “To obtain

qualified immunity, an official such as a police officer must first show he was

‘act[ing] within his discretionary authority.’”    Mobley v. Palm Beach County

Sheriff Dep't, 783 F.3d 1347, 1352 (11th Cir. 2015) (quoting Morton v. Kirkwood,

707 F.3d 1276, 1280 (11th Cir. 2013)). In the Fourth Amendment context, the

determination of whether a police officer is entitled to qualified immunity does not

                                         11
       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 12 of 30



turn on “whether he has the right to engage in unconstitutional searches and

seizures, but whether engaging in searches and seizures in general is a part of his

job-related powers and responsibilities.” Hollman v. Harland, 370 F.3d 1252,

1266 (11th Cir. 2004).

      It is undisputed that Eaton was engaged in a discretionary function at the

time that he entered the Clayton residence. (Doc. 44-1, p. 12; Doc. 53, p. 10).

Therefore, the motion turns on whether R.R. has shown that Eaton is not entitled to

qualified immunity. Question one before the court is whether the defendant, David

Eaton, violated the plaintiff’s Fourth Amendment rights when he used a crowbar

and sledgehammer to breech the front door of her home and conduct a room-to-

room search of the house looking for the subject of an arrest warrant. If he did, the

question becomes whether the right to be free of such a search was so clearly

established at the time of the violation that the defendant is not entitled to qualified

immunity.

      A. Violation of the Fourth Amendment

      The court finds that the defendant violated R.R.’s Fourth Amendment right

to be free of unreasonable search when he entered her grandmother’s home where

she was living on May 9, 2015. Although the home belonged to her grandmother,

it was her residence as well. R.R. possessed a reasonable expectation of privacy in




                                          12
       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 13 of 30



her home, even though it was owned by her grandmother, and that reasonable

expectation was clearly violated by Eaton’s entry.

      The Fourth Amendment, made applicable to the states by the Fourteenth

Amendment, provides, in relevant portion, that “the right of the people to be secure

in their persons, houses, papers, and effects, against unreasonable searches and

seizures, shall not be violated.” U.S. Const. amend. IV. It is long established that

physical entry into a person’s home is “the chief evil against which the wording of

the Fourth Amendment is directed.” U.S. v. U.S. Dist. Court for Eastern Dist. Of

Mich., Southern Division, 407 U.S. 297, 313, 92 S. Ct. 2125, 32 L. Ed. 2d 752

(1972). Entering into a home to conduct a search or seizure without a warrant is

“presumptively unreasonable” because privacy within one’s dwelling is one of the

foundational protections guaranteed by the Fourth Amendment. Payton v. New

York, 445 U.S. 573, 586-7, 100 S. Ct. 1371, 1378, 63 L. Ed. 2d 639 (1980); see

also Kentucky v. King, 563 U.S. 452, 459, 131 S. Ct. 1849, 1856, 179 L. Ed. 2d

865 (2011); Brigham City v. Stuart, 547 U.S. 398, 403, 126 S. Ct. 1943, 164

L.Ed.2d 650 (2006); Groh v. Ramirez, 540 U.S. 551, 559, 124 S. Ct. 1284, 157

L.Ed.2d 1068 (2004)).      In the colonial period, “indiscriminate searches and

seizures conducted under the authority of ‘general warrants’ were the immediate

evils that motivated the framing and adoption of the Fourth Amendment.” Id. at

583, 100 S. Ct. at 1378. However, “an arrest warrant founded on probable cause


                                        13
       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 14 of 30



implicitly carries with it the limited authority to enter a dwelling in which the

suspect lives when there is reason to believe the suspect is within.” Id. at 603.

However, an arrest warrant does not carry with it an authorization to search the

home of a third party for the subject of the warrant absent an independent showing

that the subject of the arrest warrant is located inside the third-party’s home.

Steagald v. U.S., 451 U.S. 204, 213-4, 101 S. Ct. 1642, 68 L. Ed. 2d 38 (1981). In

the Eleventh Circuit, this has been interpreted to require the police to have a

“reasonable belief” that the subject of an arrest warrant is inside a home in order to

comport with Fourth Amendment protections. United States v. Bervaldi, 226 F.3d

1256, 1263 (11th Cir. 2000).

      The determination of whether the police had authorization to enter a

dwelling under authority of an arrest warrant is a two-part inquiry. United States

v. Magluta, 44 F.3d 1530, 1533 (11th Cir. 1995).           “First, there must be a

reasonable belief that the location to be searched is the suspect’s dwelling, and

second, the police must have reason to believe that the suspect is within the

dwelling.” Id. (internal quotation marks omitted) (finding that the police were

privileged to enter a residence because they had a valid arrest warrant if “they had

reason to believe it was [the suspect’s] residence, and if they had reason to believe

that [the suspect] was home at the time of entry.”) Though “reasonable belief” has

not been completely defined in this context, the court should evaluate the


                                         14
         Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 15 of 30



reasonableness of the belief when “the facts and circumstances within the

knowledge of law enforcement agents [is] viewed in the totality.” Id. at 1535.

Additionally, “courts must be sensitive to common sense factors indicating a

resident’s presence.” United States v. Bervaldi, 226 F.3d 1256, 1263 (11th Cir.

2000).

      As noted above this is a two-part inquiry. It is not sufficient that Eaton had

either a reasonable belief that the home was Breana Clayton’s or a reasonable

belief that Breana Clayton was inside the home when he forcibly entered, rather he

must have had both. For Eaton’s forced entry into R.R.’s home to be reasonable

under the Fourth Amendment, the evidence, viewed favorably to the plaintiff, must

support a reasonable inference that Eaton had “reason to believe” that Breana

resided at the home and “reason to believe” that she was actually there at the time

he entered.

      1. Reasonable Belief that the Home was Breana’ Clayton’s Residence

      The defendant argues that he had a reasonable belief that the address was

Breana Clayton’s residence when that address was the same as appeared on her

driver’s license and on the arrest warrant. (Doc. 44-1, pg. 15; Doc. 54, pg. 8).

However, court finds that this is not enough to pass muster under the precedent in

the Eleventh Circuit. Multiple report and unreported cases in the Eleventh Circuit

all have emphasized investigative facts beyond mere reliance of a driver’s license


                                        15
      Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 16 of 30



address. For example, in United States v. Bervaldi, 226 F.3d 1256, 1263(11th Cir.

2000), the court noted that the police had a reasonable belief that a house was a

suspect’s dwelling, despite his driver’s license address being different, when he

was a young person and indicated that the driver’s license address was his parent’s

address). Also, in United States v. Bellamy, 456 F. App’x 863, 865 (11th Cir.

2012) (unpublished), the court found that officers had a reasonable belief that a

residence was the suspect’s where local police had stated that it was the suspect’s

address, the apartment complex confirmed that suspect’s girlfriend lived at the

address, and the suspect had been seen there before. In Daker v. Steube, 514 F.

App’x 885, 888-9 (11th Cir. 2013) (unpublished), an officer had the requisite

reason to believe a residence was the suspect’s when the warrant listed that

address, the address matched the suspect’s driver’s license, and recent booking

records provided that same address). Likewise, the Eleventh Circuit found in

United States v. Weeks, 442 F. App’x 447, 452 (11th Cir. 2011) (unpublished),

that there was a reasonable belief that the suspect lived at the residence when

deputy received a tip that suspect lived there, confirmed that address through a

utilities database, and the deputy saw the suspect coming and going while

conducting surveillance).

      None of these additional investigative facts exist in the instant case. The

sole basis for defendant Eaton’s belief that Breana resided at the address was the


                                        16
       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 17 of 30



match between the address on the warrant and the address on Breana’s driver’s

license. It is clear that the Hueytown police did not get the address information on

the warrant from Breana. She was not interviewed by police or arrested by them

before the search at R.R.’s home. There is no evidence that she provided the

address. Cf. Payton v. City of Florence, 413 F. App’x 126, 132 (11th Cir. 2011)

(residence address was provided by the suspect when he was arrested without a

warrant on a charge that later was indicted and on which the warrant was then

issued). From his own experience, Eaton knew that people are often arrested at

residences different from that stated on their driver’s licenses. Reliance on a match

of the warrant address to a driver’s license address alone could not be a reasonable

basis for concluding that the address was Breana’s residence.

      The defendant relies heavily upon Payton v. City of Florence to show that

reliance on the address on a suspect’s driver’s license is sufficient to form a

reasonable belief that the address is the suspect’s residence. See (Doc. 54, pp. 7-8)

(citing Payton v. City of Florence, 413 F. App’x 126, 132 (11th Cir. 2011)).

However, the defendant fails to recognize that the officers in Payton relied on more

than a mere match of the warrant address to the driver’s license address to form

their belief. In Payton, the officers relied on three different documents, and each

document listed the same address that had been provided by the suspect himself at

the time of his initial booking. 413 F. App’x at 131.


                                         17
        Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 18 of 30



       In this case, Eaton relied on a warrant and a driver’s license. Presumably,

Breana Clayton provided the address on her driver’s license. 5 However, Eaton

admitted he was unaware of how or where the Hueytown Police had obtained the

address they listed on the warrant. Therefore, it was not reasonable for Eaton to

view the address on the warrant as reliable proof that Breana Clayton lived at the

6th Place West address. The only reliable evidence that Eaton had that Breana

Clayton resided at the 6th Place West address was her driver’s license, and it was

likely four years old.

       Additionally, because the court should look at the totality of the

circumstances, it is appropriate for the court to note that the suspect in Payton and

Breana Clayton were at different stages of their lives, which affects the

reasonableness of the belief that they would reside at the address listed on their

driver’s licenses. In Payton, the suspect was a 37-year-old man. 413 F. App’x at

132 n. 4. In this case, Breana Clayton was 21 years old. The Eleventh Circuit has

recognized that people in their twenties may use a parent or guardian’s address on

their driver’s license because it may be more permanent than their actual residence

5
   Ex. 7 to the Deposition of Joni Money (one of the Rule 30(b)(6) persons designated to testify
for the Jefferson County Sheriff’s Department) shows the issuance and renewal history of Breana
Clayton’s driver’s license. It was first issued to her on May 4, 2011, four years prior to the
search of 2116 6th Place West. “Duplicates” of the license were provided on March 5 and
October 23, 2014, each continuing to show the initial address of 2116 6th Place West. The
license was then renewed on May 18, 2015, nine days after the search. The renewed license
showed a different address than 2116 6th Place West for Breana Clayton. Although not clear, it
appears that Breana Clayton provided the 2116 6th Place West address at the time she obtained
the license in 2011—four years before the events of May 9, 2015.
                                              18
       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 19 of 30



address. See Bervaldi, 226 F.3d at 1263-4. Also, because the license was issued

four years earlier, when Breana was 16 or 17 years old, there was a good likelihood

that she no longer lived at that address at the age of 21. Young adults tend to leave

their childhood homes between the ages of 16 and 21.              Additionally, Eaton

admitted that he served warrants on individuals who lived at addresses other than

the one listed on their driver’s licenses. (Doc. 44. Ex. 1, p. 119 (10-13)).

      The Eleventh Circuit has never held that an officer had a reasonable belief

that an address was a suspect’s residence when that officer relied solely upon one

document. That is especially true when that one document was a 21-year-old

woman’s driver’s license when it is known that people of that age tend to use a

parent’s or guardian’s address on their driver’s licenses. Therefore, the court finds

that Eaton did not have a reasonable belief that Breana Clayton lived at 2116 6th

Place West on May 9, 2015, when he used a crowbar and a sledgehammer to force

his way into the home.

      2. Reasonable Belief that Breana Clayton was Inside the Home

      Though it is enough for the purposes of establishing a violation of the Fourth

Amendment that Eaton did not have a reasonable belief that the 6th Place West

address was Breana Clayton’s residence, the court also finds that Eaton did not

have a reasonable belief that Breana Clayton actually was inside the house when he

forcibly entered. It is true that there is a presumption that a suspect will be inside


                                          19
      Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 20 of 30



her residence at certain times of the day. See Magluta, 44 F.3d at 1535. However,

like any presumption, this presumption can be rebutted. Id. Eaton argues that his

belief was reasonable because it was around 9:00 a.m. on a Saturday morning and

because his partner, Dill, saw movement in a window. (Doc. 54, pp. 8-9).

      Again the court must look at the totality of the circumstances and must not

neglect to consider common sense. The Eleventh Circuit has never held that an

officer had a reasonable belief that a suspect was inside a house simply because it

was a Saturday morning and an officer detected some unidentified movement in a

window. See United States v. Beck, 729 F.2d 1329, 1331 (11th Cir. 1984) cert.

denied, 469 U.S. 981, 105 S. Ct. 383, 83 L. Ed. 2d 318 (finding it was reasonable

to believe a suspect was inside when the police were not aware of a specific

schedule to the contrary, suspect’s car was parked close by, and it was 7:30 a.m.);

United States v. Magluta, 44 F.3d 1530, 1533 (11th Cir. 1995) cert. denied, 516

U.S. 869, 116 S. Ct. 189, 133 L. Ed. 2d 126 (1995) (finding police had a

reasonable belief that suspect would be in the home when a frequent visitor was at

the residence, a vehicle connected to the suspect was parked outside, the yard and

home was up kept and clearly routinely occupied, and there was no evidence that

the suspect had left); United States v. Bervaldi, 226 F.3d 1256, 1263(11th Cir.

2000) (finding police had a reasonable belief that the suspect was home when a

vehicle connected to the suspect had been seen at the house in the months before


                                        20
       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 21 of 30



the raid and the police officers entered the house around 6:00 in the morning);

United States v. Bellamy, 456 F. App’x 863, 865 (11th Cir. 2012) (finding that

officers had a reasonable belief the suspect was inside the house when a car that

was connected to the suspect was located nearby at the time they entered the

house); Payton v. City of Florence, 413 F. App’x 126, 132 (11th Cir. 2011)

(finding that police officers had a reasonable belief that suspect was inside when it

was 7:45 a.m., his mother answered the door, and she provided inconsistent

statements about suspect’s whereabouts); United States v. Zavala, 408 F. App’x

319, 322 (11th Cir. 2011) (finding that officers held the reasonable belief necessary

to comport with the Fourth Amendment where the suspect’s car was at the

residence, it was early in the morning, and suspect was not at his other suspected

residence); Sevostiyanova v. Cobb County of Ga., 484 F. App’x 355, 359 (11th

Cir. 2012) (finding that entry into a suspect’s home to effectuate an arrest was

proper where it was early in the morning, there was no evidence to suggest suspect

was not at home, and someone matching suspect’s description was seen inside the

home); Daker v. Steube, 514 F. App’x 885, 888-9 (11th Cir. 2013) (finding that an

officer had a reasonable belief the suspect was inside when he saw someone else

inside the home and the person at the door refused to identify the other occupant

and was generally uncooperative); United States v. Weeks, 442 F. App’x 447, 452

(11th Cir. 2011) (finding that the police that a reasonable belief suspect was inside


                                         21
       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 22 of 30



when it was 6:30 a.m., a person was seen in the window, and no one would answer

the door after police announced their presence as law enforcement); United States

v. Farley, 402 F. App’x 505, 506 (11th Cir. 2010) (finding that a U.S. Marshal’s

forcible entry into a home was permitted under the Fourth Amendment when he

relied on information provided by a historically reliable confidential informant, the

confidential informant was able to provide specific details about the suspect, and

the Marshal recognized someone through the window who favored the suspect);

United States v. Bridgewater, 333 F. App’x 470, 472 (11th Cir. 2009) (finding that

officers had a reasonable belief that suspect was inside his home when a car

connected to the suspect was parked outside and the officers arrived at the house at

7:00 a.m.). Although the fact that it was Saturday morning adds to the assessment

of the reasonableness of Eaton’s belief, that fact alone did not make Eaton’s belief

that Breana was in the house reasonable. If the simple fact that it was Saturday

were enough to give Eaton “reason to believe” that Breana was actually in the

house, then Saturdays become free days on which officers have the greenlight to

enter homes to execute arrest warrants. Saturdays, Sundays, and holidays are not

“Fourth Amendment Free” days, when the protection of the Amendment is

diminished compared to the other days of the week.

      As the above-cited cases demonstrate, something more than the mere day of

the week must exist for the officer to have “reason to believe” that the subject of a


                                         22
        Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 23 of 30



warrant in actually in the residence. In every instance, there has always been

something more concrete, such as a car connected to the suspect located near the

house, occupants in the house giving inconsistent information about the location of

the suspect, information from confidential informants or others that put the suspect

at the location, a known associate being at the house, or other evidence gained over

longer periods of surveillance. See supra (collecting cases). Here, Eaton based his

determination to enter the home forcibly on nothing but the day of the week, the

time of day, and unidentifiable “movement” in a window. 6 The time of day—9:00

a.m. on a Saturday—was not so early or late that a reliable assumption can be

made that a person will be present. While officers may reasonably assume that

occupants are still asleep at 6:00 or 7:00 in the morning, the later the hour gets, the

less likely the assumption is correct. Can officers assume that a suspect will be in

a house at 2:00 on a Saturday afternoon? The presumption is meaningless if it

applies to all twenty-four hours of the day.

       Eaton argues that the presumption that Breana Clayton was home could only

be rebutted by known evidence of the suspect’s schedule, and since he performed

no surveillance or any investigation whatsoever, he had a reasonable belief that she

was inside the home. Surely it cannot be the case that, the less investigation an


6
  Eaton also claims that he established that Bettie Clayton was Breana Clayton’s grandmother,
but the plaintiff disputes this, so the facts taken in the light most favorable to the plaintiff do not
show that he established a familial connection.
                                                  23
        Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 24 of 30



officer does, the more reasonable his belief is. If so, complete ignorance is perfect

reasonableness. The court finds it hard to accept the suggestion that an officer

should be able to hide behind inadequate police work to claim immunity. The fact

that Eaton failed to perform any type of investigation, which could have shown

that Breana Clayton did not live at the house, does not insulate his actions. An

officer may not choose to stay intentionally oblivious to the circumstances in order

to ensure that he is protected in the event that his actions cross the line.

       Additionally, the unidentified movement in the window cannot have been

enough to give Eaton a reasonable belief that Breana was inside the house.7 Dill

admitted that he was unsure what the movement in the window had been.

Additionally, Eaton never asked Bettie Clayton if anyone else was inside the home.

For all Eaton knew, the movement had been caused by a draft from a ceiling fan or

the family cat.      Without more, these facts simply cannot give an officer the

reasonable belief necessary to use a sledgehammer and a crowbar to enter the

home of a third party to search for an arrest warrant suspect.

       When this encounter is viewed in its entirety, with the facts construed in the

light most favorable the plaintiff, it becomes clear that Eaton’s actions simply

cannot pass muster under the Fourth Amendment. Eaton went to an address that he

7
   Of course, it would not be unusual or surprising that other people might be in the house. But
the constitutional reasonableness of the decision to enter the house turns on whether the officer
has “reason to believe” that the subject of the warrant is actually present in the residence. United
States v. Magluta, 44 F.3d 1530, 1533 (11th Cir. 1995)
                                                24
       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 25 of 30



obtained from a driver’s license and a warrant. He had no idea where the police

had obtained the address on the warrant, and he admitted that he “very often”

served arrest warrants in instances where the subject lived at an address other than

the one on the warrant. Eaton conducted no surveillance or investigation to verify

the address was correct. He knocked on the door and asked Bettie Clayton if the

suspect was there. She responded that Breana Clayton was not there and did not

live there. Then, after being told about a nondescript movement in a window,

Eaton used a crowbar and sledgehammer to rip open a door and searched the house

room-by-room, ultimately to no avail. If this were allowed under the Fourth

Amendment, the protections of the amendment would be meaningless.

       B. Whether the Right is Clearly Established

      Having established that Detective Eaton’s actions at the Clayton home on

May 9, 2015, violated the Fourth Amendment, the question before the court is

whether the Fourth Amendment right to be free of such a search was so clearly

established that Eaton had fair notice that his actions were unlawful. See

Holloman, 370 F.3d at 1264 (citing Wilson v. Layne, 526 U.S. 603, 609, 199 S. Ct.

1692, 1697, 143 L. Ed. 2d 818 (1999)). A right is clearly established when a case

from the Supreme Court, the Eleventh Circuit, or the Alabama Supreme Court

establishes that the defendant’s conduct is unlawful. See Marsh v. Butler County,

Ala., 268 F.3d 1014, 1032 n. 10 (11th Cir. 2001) (citing Jenkins by Hall v.


                                        25
         Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 26 of 30



Talladega City Bd. of Educ., 115 F.3d 821, 826 n.4 (11th Cir. 1997). “Where the

law is stated in broad propositions, ‘a very high degree of prior factual particularity

may be necessary.’” Fils v. City of Aventura, 647 F.3d 1272, 1291 (11th Cir.

2001).     Additionally, a right may be clearly established where a law or

constitutional provision so specifically forbids the defendant’s conduct that it

provided fair notice that the conduct was unlawful. United States v. Lanier, 520

U.S. 259, 117 S. Ct. 1219, 1227, 137 L. Ed. 2d 432 (1997) (discussing the

“obvious clarity” standard). Therefore, even though Eaton violated R.R.’s Fourth

Amendment rights as determined above, he still would be entitled to qualified

immunity unless the law as established by a materially similar case or obviously

applicable federal statute or constitutional provision provided him with notice that

his actions were unlawful.

      Plaintiff has argued that this case is an “obvious clarity” case. Obvious

clarity cases are rare. See Fils v. City of Aventura, 647 F.3d 1272, 1291-2 (11th

Cir. 2011). This narrow exception can apply only where an officer’s conduct “lies

so obviously at the very core of what the Fourth Amendment prohibits that the

unlawfulness of the conduct was readily apparent to [the officer], notwithstanding

the lack of fact-specific case law.” Id. (citing Vinyard v. Wilson, 311 F.3d 1340,

1355 (11th Cir. 2002). Additionally, the decisional law may identify a general

constitutional principal that applies with obvious clarity to a novel factual


                                          26
      Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 27 of 30



situation. United States v. Lanier, 520 U.S. 259, 271, 117 S. Ct. 1219, 137 L. Ed.

2d 432 (1997). In essence, when the officer’s conduct is so outrageous that a

reasonable officer would have known that he was violating the plaintiff’s rights,

qualified immunity is unavailable, even in the absence of a factually similar case.

Id.

      It is well established in the decisional law that a person’s home is sacred,

and must remain free of governmental intrusion except in limited circumstances

where the search is reasonable. See e.g., Kyllo v. U.S., 533 U.S. 27, 121 S. Ct.

2038, 150 L. Ed. 2d 94 (2001) (citing Silverman v. United States, 365 U.S. 505,

511, 81 S. Ct. 679, 5 L. Ed. 2d 734 (1961) (“At the very core” of the Fourth

Amendment “stands the right of a man to retreat into his home and there be free

from unreasonable governmental intrusion.”)); see also United States v. U.S.

District Court for Eastern Dist. Of Mich., Southern Division, 407 U.S. 297, 313, 92

S. Ct. 2125, 32 L. Ed. 2d 752 (1972); Payton v. New York, 445 U.S. 573, 586-7

(1980). Jurisprudence has established multiple times that a search inside a home

without a warrant is presumptively unreasonable. See e.g., Payton v. New York,

445 U.S. 573, 586-7 (1980). In Steagald, the Supreme Court made clear that under

the Fourth Amendment an arrest warrant did not authorize an officer to search a

third party’s house for the subject of the arrest warrant absent a showing that the

subject was in the house. 451 U.S. 204, 213-4. Since Eaton did not have, and a


                                        27
       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 28 of 30



reasonable officer would not have had, a reasonable belief that Breana Clayton was

inside the house at the time he broke the door to enter, the general constitutional

principal articulated in Steagald applies with obvious clarity and states that the

search was not permissible under the Fourth Amendment.

      To a reasonable officer in Eaton’s shoes, it would have been obvious that

what he was doing violated the plaintiff’s Fourth Amendment rights. With only an

arrest warrant for a third party and no reasonable belief that the subject was inside,

Eaton used a crowbar and sledgehammer to break into the plaintiff’s home and

search room-to-room once inside. These actions are so clearly contrary the

protections provided by the Fourth Amendment that the officer should have

known, and a reasonable officer would have known, that he was violating the

plaintiff’s constitutional rights.    Therefore, Eaton is not entitled to qualified

immunity. Accordingly, the motion for summary judgment is due to be denied.

                                     CONCLUSION

      The Court finds that Eaton is not entitled to qualified immunity for his

actions. Using a crowbar and a sledgehammer, Eaton broke through a steel door

and made forcible entry into a home based only on (1) an address on a warrant,

matching an address on a driver’s license issued four years earlier, (2) the fact that

it was 9:00 on a Saturday morning, and (3) a mysterious “movement” in a window.

He was told by the homeowner that Breana did not reside there and that she was


                                          28
       Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 29 of 30



not there at that time. Yet, he conducted no further surveillance or investigation to

determine either that (1) the home was Breana Clayton’s actual residence (it was

not), or (2) that she was actually present at the time of his entry (she was not). He

did not talk to neighbors, he did not check the registration of the lone car parked

outside, and he did not determine that the homeowner was related to Breana.

Although we will never know, it is unlikely that a detached and neutral magistrate

would have found probable cause to issue a search warrant to enter the home on

these facts. Even on the more forgiving standard of qualified immunity, taking the

facts favorably to the non-movant, Eaton simply did not have a reasonable belief

either that the home was Breana’s residence or that she was actually there at the

time of his entry.

      The Fourth Amendment exists to protect all of us—the guilty and innocent

alike—from unreasonable searches and seizures by the police. Police have the

duty of executing arrest warrants, and qualified immunity protects them from

reasonable but mistaken attempts to do so.          At some point, however, the

protections of the Fourth Amendment because meaningless if the police are not

held to a proper level of reasonableness. On the facts viewed favorably to R.R.,

this entry and search was unreasonable. Accordingly, the motion for summary

judgment is due to be denied.




                                         29
Case 2:17-cv-00751-TMP Document 61 Filed 04/11/19 Page 30 of 30



A separate order will be entered.

DONE this 11th day of April, 2019.




                                _______________________________
                                T. MICHAEL PUTNAM
                                UNITED STATES MAGISTRATE JUDGE




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